                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
                               Plaintiff,            )
                                                     )
                        v.                           )       No. 09-4003-11-CR-C-NKL
                                                     )
WILLIAM HAROLD ROGERS,                               )
                                                     )
                               Defendant.            )

                             REPORT AND RECOMMENDATION

       On September 15, 2009, a hearing was held on defendant William Harold Rogers’ motion
for suppression of statements and evidence. Rogers appeared in person and was represented by
counsel David Healy.1
       Defendant Rogers’ motion seeks suppression of the content of all intercepted wire
communications to which he was a party, and any further evidence obtained as a fruit thereof.
FBI Case Agent Marlin Ritzman testified as to the facts pertaining to the motion. Agent
Ritzman’s testimony has not been seriously challenged by defendant and the court finds Agent
Ritzman to be a credible witness.
       Defendant challenges the intercepted wire communications as to necessity. Title 18,
United States Code, § 2518(1)(c), provides that an application for an order authorizing a wiretap
must include, among other things, “a full and complete statement as to whether or not other
investigative procedures have been tried and failed or why they reasonably appear to be unlikely
to succeed if tried or to be too dangerous.” This requirement seeks to insure that wiretaps are not
routinely employed as the initial step in an investigation. United States v. Thompson, 210 F.3d
855, 858-59 (8th Cir. 2000).
       In the instant case, it is clear from the testimony of Agent Ritzman, and his affidavit in
support of the wiretap, that at the time the wiretap was authorized, the investigation had been

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        This case was referred to the undersigned United States Magistrate Judge for processing
in accord with the Magistrate Act, 28 U.S.C. § 636, and W.D. Mo. R. 22.


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under way for some time and law enforcement officers did not know the full extent of the
conspiracy. Agent Ritzman’s affidavit sets forth, with detail, the investigative techniques that
had been utilized by law enforcement officers, such as surveillance, historical drug information,
controlled buys, confidential human source, pen register and toll record information, trash pulls,
search warrants, and the shortcomings and limitations of such techniques in achieving the goals
of the investigation. The wiretap was requested by Agent Ritzman for the purpose of obtaining
admissible evidence needed to establish the full scope of the conspiracy, including the identity of
all the participants in the conspiracy, the source of drugs, financing, and the location and storage
of drugs and records. The Eighth Circuit has specifically held that “[i]f law enforcement officers
are able to establish that conventional investigatory techniques have not been successful in
exposing the full extent of the conspiracy and the identity of each coconspirator, the necessity
requirement is satisfied.” United States v. Jackson, 345 F.3d 638, 644 (8th Cir. 2003). This court
finds that Agent Ritzman’s affidavit established that the conventional investigatory techniques
had not been successful in exposing the full extent of the conspiracy, including the identity of
each member and the extent of the criminal activities; therefore, the necessity requirement was
satisfied. See id. The fact that law enforcement officers had already collected evidence from
other sources does not mean that further evidence was unnecessary or that it was not proper to
investigate the full scope of the conspiracy in which defendant was involved. The rule of
necessity does not require that a wiretap be absolutely necessary or that information cannot be
obtained from other sources, or that law enforcement officers exhaust “specific” or “all possible”
investigative techniques before wiretap orders can be issued. United States v. Matya, 541 F.2d
741, 745 (8th Cir. 1976). The Government is not required to “explain away all possible
alternative techniques, since the Government is not required to use a wiretap only as a last
resort.” Id.
       Additionally, defendant Rogers’ argument that law enforcement officers had ample
evidence against already identified persons undermines the validity of the wiretap. The issue is
not what the Government knew, but what they did not know. The purpose of the wiretap was not
to just continue to accumulate evidence against already identified involved individuals; it was to
investigate the full scope of the conspiracy, including previously unidentified individuals, such as


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defendant Rogers. See United States v. Thompson, 210 F.3d at 859 (necessity established by
affidavit setting forth investigative techniques already used insufficient to reveal full conspiracy
or identify all conspirators).
        The court finds the application for wiretap authorization established the necessity for
seeking a wiretap authorization, and the order of authorization was proper.
                                     Extension of Wiretap Order
        An application for an extension of a wiretap order must include “a statement setting forth
the results thus far obtained from the interception, or a reasonable explanation of the failure to
obtain such results." 18 U.S.C. § 2518(1)(f). In addition, the “issuing court is required to make
the same findings for an extension order as it is for an original order." United States v. Brone,
792 F.2d 1504, 1506 (9th Cir. 1986) (citing United States v. Giordano, 416 U.S. 505, 530 (1974);
18 U.S.C. § 2518(5)).
        Rogers claims the application for the extension of the wiretap order was insufficient
because it, like the initial affidavit, failed to meet the necessity requirement. Rogers further
argues that the extension was unnecessary because the Government, by then, had obtained
substantial additional evidence from the first wiretap, including identification of eight additional
persons as targets. Defendant argues that the Government had sufficient evidence to prosecute
the drug conspiracy and there was no need for further extension of the wiretap.
        A review of the affidavit in support of the application for a thirty-day extension of
wiretap authorization reveals that the Government established the necessity for further wire
interception. The affidavit stated that continued interception was needed to accomplish the goals
of the investigation, as set forth in the original affidavit, including continued identification of
participants in the conspiracy. The affidavit further articulated why alternative investigative
techniques were insufficient to accomplish these investigative goals, and why it was difficult to
accomplish the goals of the investigation within the initial thirty-day period of the wiretap. A
wiretap can be lawfully extended in order to allow investigative officers to fully develop the
extent of a conspiracy and the identity of the conspirators. United States v. Nguyen, 46 F.3d 781,
783 (8th Cir. 1995). See also United States v. Davis, 882 F.2d 1334, 1344 (8th Cir. 1989)
(reliance on telephones, distrust of confederates, and use of specialized jargon rendered normal


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investigative techniques impractical and broad scope and complexity of operation compounded
the investigation; thus, extension of wiretap lawful). A wiretap is not precluded just because the
Government has an adequate, submissible or good case. It can be used to “develop an effective
case against those involved in the conspiracy.” United States v. Reed, 575 F.3d 900, 909 (9th Cir.
2009) (quoting United States v. Rivera, 527 F.3d 891, 902 (9th Cir. 2008)). An effective case
would be one likely to result in a conviction, in other words, an excellent case.
       IT IS, THEREFORE, RECOMMENDED that defendant Rogers’ motion for suppression
of statements and evidence be denied. [348]
       Under 28 U.S.C. § 636(b)(l), the parties may make specific written exceptions to this
recommendation within ten (10) days. If additional time is needed, a motion for an extension of
time must be filed within ten days. The motion should state the reasons for the request. See
Nash v. Black, 781 F.2d 665, 667 (8th Cir. 1986) (citing Thomas v. Arn, 474 U.S. 140 (1985));
Messimer v. Lockhart, 702 F.2d 729 (8th Cir. 1983). Failure to make specific written exceptions
to this report and recommendation may result in a waiver of the right to appeal.
       Dated this 22nd day of September, 2009, at Jefferson City, Missouri.



                                              /s/   William A. Knox
                                              WILLIAM A. KNOX
                                              United States Magistrate Judge




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